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               PUERTO RICO ADR PROCEDURES PROPOSAL
                            August, 2020

          American Arbitration Association (AAA) and its international division,
                The International Centre for Dispute Resolution (ICDR)
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                               New York, NY 10271, USA
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                                            PROPOSAL

   I.      Introduction
  The American Arbitration Association (AAA) and its international division, the International
  Centre for Dispute Resolution (ICDR), have the institutional knowledge, technological
  infrastructure, qualified arbitral and staff capabilities to develop and quickly implement an
  Alternative Dispute Resolution process (the “ADR Procedure”) as envisioned by the Financial
  Oversight and Management Board for Puerto Rico (the “Oversight Board”). This program shall
  seek to use alternative dispute resolution (ADR) to resolve certain general unsecured claims
  including unliquidated litigation claims pending against the Commonwealth of Puerto Rico.

  As discussed with members of the Proskauer team (Ms. Laura Stafford and Ms. Ana Vermal) the
  AAA-ICDR hereby submits this proposal that will provide an overview of the ADR services
  requested based on the information currently available outlining the AAA-ICDR’s services to meet
  the objectives as envisioned for this program. This proposal includes elements of the capabilities
  statement that was previously provided and has added additional sections regarding several
  components addressing the ADR Procedures with greater specificity regarding our administrative
  role and details regarding timeframes and logistics.

  The AAA-ICDR’s approach will employ its tried and tested method for designing and implementing
  customized ADR programs learned from its 90+ years of specializing in the administration of
  domestic and international arbitration and mediations on a global scale. The AAA-ICDR has
  assigned a dedicated team to consider the data obtained regarding this program to date and has
  reviewed the information that has been furnished thus far in forming the basis for this proposal.

  The objective of this program is to minimize the cost, confusion and delay by incorporating the
  ADR Procedure to resolve certain general unsecured claims from these Title III cases. Using its
  experience and foundation from having developed customized programs in the past, the AAA-
  ICDR will provide the following services:

  •       Establish, maintain and manage a panel of arbitrators to be assigned to cases proceeding
          to the Binding Arbitration phase of the ADR Procedure.

  •       Applying its Commercial Arbitration Rules, incorporate modified administrative
          procedures tailored to the requirements of the ADR Procedure.




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  •       Manage and administer the ADR Procedure program’s Binding Arbitration phase, and
          provide periodic reports, data, and other information as required.

         Coordinate and work with the Oversight Board during the implementation of these ADR
          Procedures as needed to monitor the potential case filings along with the expected
          timeframes, staffing, logistics, financials, reporting and management of this program to
          ensure that the cases are administered in a timely and efficient manner. The AAA-ICDR
          will factor in a number of contingencies to be able to identify and deal with the possible
          fluctuation of case filings as they may arise.

  •       Identify and develop specialized case administration teams with Spanish language
          capabilities to administer the arbitrations filed under the ADR Procedure program’s
          Binding Arbitration phase.

  •       Incorporate the AAA-ICDR’s proprietary electronic administrative platforms (AAA-ICDR
          WebFile and Neutral’s e-Center for the administration of these cases.


  The end result will be the development and administration of an efficient and well-organized
  binding arbitration mechanism pursuant to the ADR Procedures for these Title III cases.

  AAA-ICDR bases this proposal on the information the Oversight Board’s counsel have provided us
  to date, including the Alternative Dispute Resolution Procedures filed with the bankruptcy court
  on March 23, 2020. AAA-ICDR reserves the right to amend this proposal and provide our services
  to the extent that the Alternative Dispute Resolution Procedures are revised or as more
  information becomes known about the types of claims and potential damages at issue in the
  cases likely to be arbitrated under the Procedures.

  II.     Staff Organization and Management

  The AAA-ICDR currently has assigned staff working in various divisions on the large volume of
  cases it administers domestically and internationally. In 2019, for example, the AAA-ICDR
  administered over 300,000 cases under the auspices of government entities

  For this initiative, considering the Spanish language requirements, the AAA-ICDR will be
  designating a team overseen by ICDR Vice President Luis M. Martinez, working under the ICDR’s
  Senior Vice President and General Counsel Eric Tuchmann. Other AAA-ICDR staff members will
  oversee the design and implementation of this program along with staff from AAA-ICDR’s Finance,




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  Legal, Marketing and IT departments. Other phases will involve staff from the AAA-ICDR’s
  administrative teams and the arbitrator panel’s team.




                                                          Eric Tuchman,
                                                       Senior Vice President
                                                        & General Counsel




                                                                                    AAA-ICDR addl
                                                                                   Divisional support
                                    Luis Martinez,
                                 ICDR Vice President




                                 Thomas Ventrone/VP           Thomas Ventrone/VP
            S. Pierre Paret/VP                                                     ADR Procedures
                                   ADR Procedures               ADR Procedures      Administrative
         IS and Finance Teams
                                    Administrative               Administrative    Spanish team 3
                as needed
                                   Spanish team 1               Spanish Team 2




  Eric P. Tuchmann, Senior Vice President, General Counsel and Corporate Secretary
  Eric P. Tuchmann is Senior Vice President, General Counsel and Corporate Secretary for the AAA
  and the ICDR. In that capacity, he oversees the ICDR’s operations, strategy and policies. In
  addition, he manages the organization’s legal and governance affairs, including litigation and
  regulatory matters involving the AAA-ICDR and its arbitrators and mediators. Mr. Tuchmann
  served as counsel of record on amicus curiae briefs filed in various courts and cited by the
  Supreme Court of the United States, and has been involved in various policy initiatives related to
  alternative dispute resolution. He analyzes domestic and international legal developments
  impacting the field, serves as an observer to various UNCITRAL working groups, and speaks
  frequently on arbitration and mediation topics. Mr. Tuchmann previously served as the AAA’s
  Associate General Counsel and has managed the ICDR and other offices within the organization.

  Luis M. Martinez, Vice President, AAA-International Centre for Dispute Resolution
  Luis M. Martinez is Vice President of the International Centre for Dispute Resolution, and is an
  Honorary President of the Inter-American Commercial Arbitration Commission (IACAC). Mr.
  Martinez is based in New York and serves as an integral part of the ICDR's international strategy
  team. He is responsible for international arbitration and mediation business development in
  various parts of the U.S. and the world. Mr. Martinez oversees the administration of cases that
  focus on Central and South America along with other cases that include parties that are States
  and/or State-related entities and cases conducted in Spanish. Mr. Martinez joined the AAA in




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  1996 as the first attorney hired to staff the newly created ICDR and later served as the ICDR's first
  director. Mr. Martinez worked as the Vice President responsible for the ICDR's international
  administrative services and prior to that held the position of staff attorney for the AAA's Office of
  the General Counsel before assuming his current position. He has had numerous articles
  published on international arbitration and has appeared as a speaker in programs throughout the
  world. Mr. Martinez is admitted to practice in New York and New Jersey and is a dual citizen of
  Spain and the United States. He is fluent in Spanish.

  S. Pierre Paret, AAA Vice President for Government Relations
  Mr. Paret has previously worked on a number of issues important to Puerto Rico, both as a
  Commonwealth official and in the private sector. After working for a federal agency, Mr. Paret
  was appointed by two agency directors as an Intergovernmental Relations Officer in the Puerto
  Rico Federal Affairs Administration (PRFAA), which represents the Governor of Puerto Rico in
  Washington, DC. In this capacity, he served as liaison between various agencies of the executive
  branch of Puerto Rico and federal and nongovernmental organizations on the mainland. His
  portfolio in the governor’s office included justice and public safety, emergency management and
  response, and transportation. After leaving government service, Mr. Paret joined a private
  government relations firm, where he served on a team that represented a number of
  municipalities, state agencies, and nongovernmental organizations in Puerto Rico. For example,
  Mr. Paret assisted the Puerto Rico Department of Justice in obtaining federal funds for a major
  drug interdiction project and he served that agency as liaison to the U.S. Customs Service. He also
  represented the City of San Juan for a number of years and obtained federal authorization and
  appropriations for a number of priorities, including the Tren Urbano project and AIDS prevention
  and treatment initiatives. Mr. Paret holds a Bachelor of Arts degree in international relations from
  The American University in Washington, D.C., and is fluent in Spanish.

  Thomas M. Ventrone, Vice President, Case Management Center
  Mr. Ventrone has been involved in court and private ADR case management, primarily in a
  supervisory and leadership capacity, for over 25 years. He is presently responsible for the
  oversight, administration, and management of all cross-border arbitration, mediation and other
  dispute resolution cases filed within the ICDR and managed under various rules. Mr. Ventrone
  directly supervises a multi-lingual team of attorneys from jurisdictions throughout the world who
  are trained to provide high-quality case management services to parties, counsel and
  participating arbitrators and mediators. Mr. Ventrone also serves on the international strategy
  team of the ICDR providing leadership and direction in regard to the growth and development of
  the ICDR’s services throughout the world. Prior to joining the ICDR, Mr. Ventrone managed the
  AAA’s New Jersey office overseeing a team responsible for the administration of a large number
  of commercial, employment and insurance disputes. Mr. Ventrone also serves as a staff facilitator
  for the ICDR Symposium arbitrator training sessions; speaks and presents about ADR at
  conferences throughout the world; and trains representatives from arbitral institutions,
  governments and law firms in case management techniques and ADR processes and procedures.




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  III.     AAA-ICDR Government and Large-Scale Claims Program Capabilities

  The AAA-ICDR not only has the capabilities, technology, and human resources to address these
  cases, but it also has the ability to quickly design and implement such a program. Responding to
  the needs of government at all levels, we have previously implemented a number of large-scale
  and/or urgent ADR programs. Some of our programs, for example, entailed rapid deployment of
  our capabilities to assist a several states in bringing the benefits of ADR to a large number of cases
  resulting from major disasters. Some of these programs have had a short, limited timeframe while
  others are ongoing programs, such as some of our post-disaster programs. We have the
  technology, staff, and arbitrators to quickly ramp up and deploy the resources necessary to
  resolve disputes quickly, fairly, and efficiently. The following chart provides an overview of some
  examples of these cases, which are described in greater detail below.


                              Examples of AAA-ICDR High-Volume Caseloads
    Caseload                           Case Volume                 Description
New York State                    304,620 cases in 2018   Administered by the AAA for over 40 years
Insurance Program                 290,486 cases in 2017   under authority of New York Department of
                                                          Financial Services.
Hurricanes Katrina and Rita         17,831 cases total         Louisiana and Mississippi designated the AAA
(for governments of                                            as administrator of their post-disaster claims
Louisiana and Mississippi)                                     programs.
Automobile Industry Special    1,575 cases filed               Authorized by Congress through statute.
Binding Arbitration Program                                    Program had a 7-month timeframe.
Storm Sandy Program – NY State 3,360                           Mediation of post-storm claims.
Government
Storm Sandy Program – NJ State 991                             Mediation of post-storm claims.
Government
Hurricane Andrew – FL State    Over 2,500 claims               Florida-mandated program, with a 92%
Government                     handled                         settlement rate.
North Carolina Disaster        Varies by disaster              The AAA has worked with the NC Department
Mediation Program                                              of Insurance on this program since 2006.


  AAA-ICDR Background and History

  The AAA is a neutral, non-partisan, not-for-profit public service organization with a long history
  of working with all levels of government in the prevention and resolution of disputes. The
  cornerstones of the Association’s mission are independence, neutrality, service and integrity. On
  numerous occasions, since our founding in 1926, government has called upon the AAA for advice




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  and assistance in the design, development, and implementation of alternative dispute resolution
  (ADR) projects. The AAA currently helps resolve hundreds of thousands of disputes yearly under
  governmental authority, and it stands ready to assist other government agencies in developing
  programs to leverage the efficiency, speed, and cost- effectiveness of ADR.

  As the nation’s leading authority on the use of ADR, the AAA has a number of roles. It has
  developed the highest ethical standards for arbitrators and mediators. It has over 7,000 trained
  and qualified neutral arbitrators and mediators. It has developed specialized rules and
  procedures to increase the fairness and efficiency of dispute resolution in different subject areas,
  such as healthcare, consumer, and employment disputes. It offers professional, independent case
  administration and state-of-the-art technology. It provides impartial and independent
  administration and oversight of nongovernmental elections. With offices throughout the United
  States and one international office, and cooperative agreements with 87 organizations in 54
  countries, the AAA is the leading force in the national and international ADR arenas.

  The AAA’s expertise and qualifications, coupled with our nonprofit status and strong record of
  accomplishment of delivering results in the governmental and commercial environments, provide
  governments with the confidence to delegate significant responsibilities to the AAA. The ability
  to customize and tailor ADR procedures, rules, and timelines can be particularly useful when
  designing alternative programs in a governmental setting. Through our government dispute
  resolution services, the burdens on agencies and court systems throughout the country are
  greatly reduced.

  Examples/Case Studies of AAA Government ADR Programs

  Congress and state legislatures, federal and state agencies, and local governments have
  designated the AAA in statutes, regulations, executive orders, and contracts to resolve a wide
  range of disputes under government authority. Many of these programs incorporate innovative
  elements that provide an alternative to traditional administrative or judicial mechanisms.
  Examples of current and prior AAA government programs include:

      1. U.S. Department of Justice and FCC Antitrust Settlement

  AAA staff worked (under a confidentiality agreement) with the U.S. Department of Justice to
  develop a AAA binding arbitration mechanism that was incorporated in a proposed settlement of
  a major antitrust case, and ultimately incorporated in a final judgment by the federal court. The
  AAA concurrently worked with the Federal Communications Commission on this antitrust matter
  and developed an arbitration mechanism that agency adopted. Authority: U.S. District Court for
  the District of Columbia, Modified Final Judgment, Case 1:11-cv-00106.




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      2. AAA Automobile Industry Special Binding Arbitration Program

  AAA’s experts worked with key members and committees of the U.S. Senate and House of
  Representatives to design a program to resolve a large number of complex cases resulting from
  the bankruptcy and reorganization of General Motors and Chrysler on an expedited timeframe.
  Congress ultimately designated the AAA in a statute, which was signed by the President, to
  administer a nationwide ADR program that resolved over 1500 disputes through settlement,
  mediation, and binding arbitration administered by the AAA, and completed within a statutory
  timeline of approximately seven months. For additional detail and statistical data, please
  download a copy of A Report to Congress on the Automobile Industry Special Binding Arbitration
  Program, published by the Association in November 2010 and available on the AAA website.
  Authority: Consolidated Appropriations Act of 2010, Public Law 111-117, §747 (and related
  legislative history).

      3. U.S. Department of Commerce Privacy Shield Program

  The AAA-ICDR (International Centre for Dispute Resolution, the international division of the AAA)
  was selected by the U.S. Department of Commerce’s International Trade Administration to
  develop and implement the EU-U.S. Privacy Shield program. This current multi-year contract
  includes development of arbitral rules and procedures, administration of arbitral cases, and
  administration of the Arbitral Fund, which as of January 2020 has received over $6 million in
  mandatory contributions from over 7000 U.S. businesses. In 2018, the contract was expanded to
  include the Swiss-U.S. Privacy Shield program. Authority: Federal contract.

      4. AAA Administration of New York State No-Fault Insurance Program

  Since 1974, the AAA has been designated by the New York State Insurance Department as the
  program administrator for resolution of disputed No-Fault, Uninsured Motorist, and SUM
  (Supplementary Uninsured Motorist) claims. These programs provide for specialized rules,
  specific qualifications for a roster of permanent arbitrators, extensive case statistic and financial
  reporting to the New York State Insurance Department, and dedicated Conciliators and Case
  Managers. In 2019, the AAA administered over 300,000 cases, handling all related logistics,
  documents, and financials on behalf of the State of New York under this program. Authority: New
  York State Insurance Law Section 5106; New York State Insurance Department Regulation No. 68
  (11 NYCRR 65), Subpart 65-4.




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      5. Florida Department of Insurance—Hurricane Andrew Issues

  In the wake of Hurricane Andrew, the American Arbitration Association worked with the Florida
  Department of Insurance to implement an alternative dispute resolution program to help resolve
  disputes between homeowners and insurance carriers through mediation in a quick and cost-
  efficient manner. The Florida Insurance Commissioner appointed the AAA to administer the
  program, which was widely regarded as a great success and resolved over 2500 cases. Authority:
  Emergency Rule 4-166.030 Alternative Procedures for Resolution of Disputed Claims Arising from
  Hurricane Andrew.

      6. Federal Trade Commission FRAND Disputes

  The FTC, in approving the merger of Google and Motorola Mobility, included an arbitration
  provision for the resolution of potential disputes regarding Fair, Reasonable, and Non-
  Discriminatory (FRAND) pricing through the AAA. Authority: FTC Decision and Order, Docket No.
  C-4410.

      7. AAA Medicare Arbitration Demonstration Project

  The AAA worked with the federal Centers for Medicare & Medicaid Services (CMS) and
  representatives of the states of Connecticut, Massachusetts, and New York to design and
  implement a system to resolve certain disputes related to federal reimbursement for home
  health care expenses incurred by state programs. This multi-year demonstration project
  incorporated customized rules (the AAA Medicare Demonstration Project Rules) developed with
  the parties, a special panel of expert neutrals with background in relevant substantive issues, and
  streamlined administration provided by the AAA’s professional case management staff.
  Authority: CMS statutory authority to conduct Medicare demonstration projects: 42 USC 1395
  (b)1. Supplemented by MOUs between CMS and the states of Connecticut, Massachusetts, and
  New York (entitled Arbitration of Disputed Cases in Home Health Agency Third Party Liability
  Demonstration), 2007.

      8. Pension Benefit Guaranty Corporation Multiemployer Pension Plan Arbitration

  The PBGC (a federal government agency) included a provision for the resolution through AAA
  arbitration of certain disputes. The AAA has administered these arbitrations under its
  Multiemployer Pension Plan Arbitration Rules for Withdrawal Liability Disputes since 1981.
  Authority: regulation, 51 FR 22585.




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      9. FIFRA Environmental Protection Agency Pesticide Disputes

  The AAA, through an arrangement and regulation issued by the Federal Mediation and
  Conciliation Service, provides arbitrators to resolve disputes among pesticide producers under
  the Federal Insecticide, Fungicide, and Rodenticide Act (FIFRA). The AAA also administers these
  cases under specialized FIFRA Arbitration Rules, which govern these proceedings. The United
  States Supreme Court upheld the constitutionality of this process in Thomas v. Union Carbide
  Agricultural Products Co. [105 S. Ct. 3325 (1985)]. Authority: Code of Federal Regulations, 29 CFR
  1440(b), which reads “…For the purpose of compliance with the Federal Insecticide, Fungicide,
  and Rodenticide Act (hereinafter ``the Act’’), the roster of arbitrators maintained by the Federal
  Mediation and Conciliation Service shall be the roster of commercial arbitrators maintained by
  the American Arbitration Association. Under this Act, arbitrators will be appointed from that
  roster. The fees of the American Arbitration Association shall apply, and the procedure and rules
  of the Federal Mediation and Conciliation Service, applicable to arbitration proceedings under
  the Act, shall be the FIFRA arbitration rules of the American Arbitration Association, which are
  hereby made a part of this regulation.”

      10. New York Storm Sandy Mediation Program

  The AAA was designated by Governor Cuomo and the NY Department of Financial Services in
  2012 to administer a voluntary mediation program for disputes between homeowners and
  insurance companies for claims arising from Storm Sandy, which helped resolve over 3000
  disputes. Authority: Fifteenth Amendment to New York Insurance Regulation 64.

      11. New Jersey Storm Sandy Mediation Program

  The AAA was designated by the New Jersey Department of Banking and Insurance to administer
  a mediation program for disputes between policyholders and insurers for disputes arising from
  Storm Sandy involving claims against homeowners, automobile and commercial insurance
  policies. The program resolved nearly 1000 cases. Authority: New Jersey Department of Banking
  and Insurance Order No. A13-106.

      12. United States Olympic Committee Disputes

  The AAA is designated to resolve disputes arising from United States Olympic Committee (USOC)
  decisions. In addition, to be recognized by the USOC, amateur sports organizations must require
  the use of arbitration under the AAA. The Association also provides specialized arbitrators to
  resolve disputes arising at the various Olympic events throughout the world. Authority: Federal
  statute, 36 USC 391(b)(3), which reads in part “…agrees to submit, upon demand of the




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  Corporation, to binding arbitration conducted in accordance with the commercial rules of the
  American Arbitration Association in any controversy involving its recognition as a national
  governing body, as provided for in section 395 of this title, or involving the opportunity of any
  amateur athlete, coach, trainer, manager, administrator or official to participate in amateur
  athletic competition, as provided for in the Corporation’s constitution and bylaws…” Also, federal
  statute, 36 USC 395(c)(1), which reads in part “…The right to review by any party aggrieved by a
  determination of the Corporation under the requirements of this section or section 391(c) of this
  title shall be to any regional office of the American Arbitration Association. Such demand for
  arbitration shall be submitted within 30 days of the determination of the Corporation. Upon
  receipt of such a demand for arbitration, the Association shall serve notice on the parties to the
  arbitration and on the Corporation, and shall immediately proceed with arbitration according to
  the commercial rules of the Association in effect at the time of the filing of the demand…”

      13. IRS International Tax Treaty Disputes

  The Internal Revenue Service contracted the ICDR for the administration of arbitration cases
  arising from international tax treaties with France, Germany, Belgium, and Canada. The ICDR also
  served as a financial intermediary, working with foreign governments on behalf of the IRS, to
  ensure fees, expenses, and arbitrator compensation are paid appropriately. Authority: Federal
  contracts.

      14. Federal Communications Commission/AAA Special Communications Arbitration Panel

  The FCC designated the American Arbitration Association to resolve certain disputes arising from
  several major media mergers. In the Orders approving these mergers, the FCC required the
  arbitration of certain disputes under the AAA’s Commercial Rules, with some modifications. The
  AAA assembled a panel of highly qualified neutrals with experience in media programming
  contract dispute resolution and knowledge of retransmission consent disputes and regional
  sports network programming contract disputes. The AAA also administered these cases on a
  national level. Authority: Federal Communications Commission Memorandum Opinion and Order
  11-4, Memorandum Opinion and Order 08-66, Memorandum Opinion and Order 06-105, and
  Memorandum Opinion and Order 03-330.

      15. Federal Reserve System

  Since 1970, the AAA has been the designated provider to the Federal Reserve System’s Labor
  Relations Panel of several services, including providing neutrals to serve as investigators and
  hearing officers. Authority: Code of Federal Regulations, 12 CFR 269b, which reads in part “…the
  panel may refer the matter, accompanied by a general or particularized request, to the National




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  Center for Dispute Settlement of the American Arbitration Association (hereinafter referred to as
  the Center) to make an investigation and to determine whether the charging party has
  established a prima facie case.”

      16. Department of Interior

  Disputes between the Department of Interior and private landowners arising from land valuation
  claims are to be resolved by arbitrators provided by the AAA and in accordance with AAA rules.
  Authority: Statutory authority, 43 USC 1716(d)(2), which reads in part “…(2) If within one hundred
  and eighty days after the submission of an appraisal or appraisals for review and approval by the
  Secretary concerned, the Secretary concerned and the other party or parties involved cannot
  agree to accept the findings of an appraisal or appraisals, the appraisal or appraisals shall be
  submitted to an arbitrator appointed by the Secretary from a list of arbitrators submitted to him
  by the American Arbitration Association for arbitration to be conducted in accordance with the
  real estate valuation arbitration rules of the American Arbitration Association.”

      17. Environmental Protection Agency—Emissions Disputes

  The AAA is authorized by regulation to help resolve certain disputes between part manufacturers
  and vehicle manufacturers that arise from warranty claims. These cases are to be arbitrated and
  administered by the AAA under the AAA’s Commercial Arbitration Rules. Authority: Code of
  Federal Regulations, 40 CFR 85.2117(b)(3), which reads “…(3) Arbitration shall be carried out
  pursuant to the Arbitration Rules contained in appendix II of this subpart which are based on
  Commercial Arbitration Rules published by the American Arbitration Association, revised and in
  effect September 1, 1988.”

      18. Environmental Protection Agency—Toxic Substances Control Act Reimbursement Disputes

  The AAA is authorized by EPA regulation to help resolve certain disputes that may arise related
  to reimbursement for costs incurred under section 4(a) of the TSCA. These cases are to be
  arbitrated and administered by the AAA under specialized procedures. Authority: Federal
  regulatory authority, 40 CFR 790-792

      19. Minnesota No-Fault Insurance Disputes

  The American Arbitration Association has been administering the Minnesota No-Fault arbitration
  system since 1975 and averages approximately 5000 cases per year. Authority: Minnesota’s No-
  Fault arbitration system established under the Minnesota No-Fault Automobile Insurance Act,
  Section 65B.525, with oversight by the state Supreme Court.




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        20. Florida Residential Mortgage Foreclosure Mediation Program

  In 2010, the AAA was chosen by Judicial Circuit Courts in Florida’s 8th, 17th, and 18th Circuits as
  the official mediation administrator for the Residential Mortgage Foreclosure Mediation (RMFM)
  program. The RMFM program stipulates that all lawsuits involving a residential mortgage
  foreclosure of an owner- occupied homestead residence will be referred to the AAA. Once the
  homeowner has been notified, and if they agree to participate in the program, they will first
  undergo mortgage foreclosure counseling. The homeowner and the lender will then begin the
  mediation process with the objective of reaching an early and mutually agreeable settlement of
  their dispute. Authority: Pursuant to Administrative Order AOSC09-54 (12/28/09) of the Florida
  Supreme Court.

        21. West Virginia Department of Environmental Protection

  In 2003, the AAA began to administer a unique set of cases in West Virginia that were part of an
  arbitration program created by the state legislature to resolve damage disputes between
  blasting/coal companies and property owners. The program came about as part of surface mining
  blasting rules established by legislation in 1999, which call for a two-step process to deal with
  blasting claims. Under the program, a dispute will first be submitted to the West Virginia Office
  of Explosives & Blasting, a division of the West Virginia Department of Environmental Protection,
  for investigation, evidence gathering, and determination by an impartial claims administrator. If
  one of the parties is not satisfied with the decision, they can move to the second step—arbitration
  under the auspices of the AAA. Authority: West Virginia Legislative Rule 199-1-6, Arbitration for
  Blasting Damage Claims.

        22. New York Worker’s Compensation Health Insurer’s Match Program (HIMP)

  In 1993, the New York Worker’s Compensation Board issued a regulation that provided for
  arbitration of eligible disputed requests for reimbursement by health insurers or health benefits
  plans from workers compensation carriers for benefits paid for a qualified claimant’s treatment.
  Since then the AAA has administered the arbitration provisions of the regulation. Authority:
  Subpart 325-6 of Title XII of the official compilation of codes of rules and regulations of the state
  of New York.


  IV.       Arbitral Rules and Administrative Procedures

  The AAA-ICDR has extensive expertise in the development and customization of arbitral rules and
  procedures that have been recognized by and withstood scrutiny from the courts. The AAA-ICDR




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  proposes the use of its Commercial Arbitration Rules (Amended and Effective October 1, 2013)
  as modified by the set of procedural modifications listed below to reflect the requirements of
  the Binding Arbitration phase of the ADR Procedures as specified in the Court’s Order along with
  other modifications we may suggest that may be beneficial for this process.

  The AAA-ICDR’s Commercial Arbitration Rules are tried and tested rules that reflect the “best
  practices” and incorporate the latest provisions that parties, their counsel, and arbitrators expect
  in an arbitration today. They provide the arbitrators with the framework and powers to render all
  necessary procedural determinations to bring the process to its conclusion with awards that will
  be recognized and enforced.

  Once approved and finalized, these rules as modified below will be used by the AAA-ICDR to
  administer any arbitration cases filed under this program in the Binding Arbitration phase.

  The AAA-ICDR will provide a set of procedural modifications to be applied in conjunction with the
  Commercial Arbitration Rules to incorporate the requirements listed in Section 5 of the Binding
  Arbitration Phase of the Court’s Order.

   The AAA-ICDR will provide all required administrative services to fulfill the necessary steps from
  the initiation of the case to the delivery of the final award. The AAA- ICDR administrative role will
  focus on the following procedural milestones.

  •       Request for arbitration received at a central point of contact with case filing requirements
          reviewed in compliance with the terms of this program.

  •       Case is initiated, with correspondence sent to all parties scheduling an administrative
          conference call with the parties and the AAA-ICDR administrator.

  •       Administrative conference call takes place; administrative issues discussed along with the
          arbitrator selection process.

  •       Arbitrator selection process conducted. AAA-ICDR to use arbitrators from the panel that
          will be designated for these cases with Spanish language capabilities based in Puerto Rico
          and other US cities.

  •       Arbitrators will be guided through a conflict and disclosure process, and the AAA-ICDR
          will handle and decide any party challenges to the arbitrator. If AAA-ICDR removes the
          arbitrator based on a challenge, it will appoint a replacement arbitrator, who will similarly
          perform a conflicts check and make disclosures. Upon completion of this process, the
          AAA-ICDR will confirm the arbitrator’s (or replacement arbitrator’s) appointment.




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  •       Preliminary hearing (telephonic if possible) scheduled and agenda prepared. Arbitrator
          issues a procedural order providing framework and schedule for the arbitration.

  •       Hearings scheduled, hearing notices prepared and sent to the parties.

  •       Financials reviewed, deposits for compensation requested as all related costs shared
          equally between the claimant and the debtors.

  •       Information-gathering, document exchange phase takes place as required by the ADR
          Procedures as reflected by the arbitrator’s procedural order. AAA-ICDR case
          administrator maintains strict observance of the calendar for the arbitration.

  •       Evidentiary hearing take place; facilities are reserved if needed and notice provided.

  •       Post-hearing submissions (if requested by the arbitrator).

  •       Award preparation.

  •       Award issued and case closed – arbitrator financial invoices reviewed and processed.

  •       Financial reports completed.

  The arbitrators will also be required to comply with The AAA-ABA Code of Ethics for Arbitrators
  in Commercial Disputes, which was originally prepared by a joint committee comprised of the
  AAA and the American Bar Association.


  V.       ADR Procedures – Conditions Precedent to the Binding Arbitration Phase.

      ADR Procedures Prior to Binding Arbitration – Offer Exchange Procedures
  The following procedures are based on the AAA-ICDR’s understanding of the ADR procedures as
  provided by Proskauer. If the AAA-ICDR is selected as the administrator, further discussions
  between the AAA-ICDR and Proskauer regarding any additional modifications will be scheduled
  prior to the implementation and start-up of this program and then again after the outcome of
  the initial test cases that may require the possible modifications to this section as drafted below.


  Once the Court commences the ADR procedures (100 days following approval), the AAA-ICDR as
  the administrator, in contact with the Oversight Board, shall be notified of the number of
  claimants that have received the ADR Transfer Notice and will again be notified when subsequent
  transmission of the ADR Transfer Notices are made in intervals of 45 days to additional claimants.




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  The Oversight Board shall initially file a smaller number of claims to test the process at the
  program’s commencement. The AAA-ICDR shall establish and coordinate communications with
  the Oversight Board/Commonwealth for the purpose of obtaining information regarding the
  number and types of cases that may be headed to the Binding Arbitration phase, including which
  documents will be provided to the AAA-ICDR such as the ADR Transfer Notice and other
  information regarding the claims that may be publically available on the Court’s docket including
  status notices.


  The Oversight Board shall notify the AAA-ICDR of the Claimants that consent to binding
  arbitration in responding to the Offer Letter and/or the ADR Transfer Notice. The Oversight Board
  shall also advise the AAA-ICDR of the Claimants that returned the Offer Letter and/or ADR
  Transfer Notice without expressly consenting to binding arbitration, as they may consent to
  arbitration later on. The Oversight Board shall also provide AAA-ICDR copies of the Offer Exchange
  Impasse Notice, as this will provide the AAA-ICDR with an estimate of the potential number of
  cases that are moving through this first phase and then proceeding on to the Evaluative
  Mediation phase.


  The estimated timeframe for the Offer Exchange procedures is approximately 150 days if certain
  options are exercised. The Claimant’s response is due within 25 days of the transmission of the
  ADR Transfer Notice unless it did not contain an offer, in which case Debtor has 60 days to serve
  the Offer upon the Claimant before the 25 days start to run. The parties may also engage in
  counteroffers, which may add 30 to 60 days to the Offer Exchange Procedures phase.


     ADR Procedures Prior to Binding Arbitration – Evaluative Mediation
  In the event that a claim is not resolved through the Offer Exchange process, the claim will
  proceed to Evaluative Mediation handled by the Title III Court. Information exchanged during the
  Offer Exchange process shall be provided to the mediator.


  The estimated timeframe for the mediation is 77 to 100 days or longer if settlement conferences
  are held, running from the mediator’s appointment. The mediation will be commenced within a
  reasonable time (to be advised by the Oversight Board) in the event that the claim is not resolved
  through the Offer Exchange process.


  The mediator’s evaluation shall be limited to a determination of the monetary value, if any, of
  the designated claim, and it shall not raise or purport to evaluate any issues relating to the




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  potential treatment or priority of the claim pursuant to a plan of adjustment. The mediation shall
  terminate either after the mediator files a Notice of Impasse or the parties have not reached a
  settlement 75 days after the issuance of the mediator’s evaluation. If the mediator fails to issue
  an evaluation within the time frame established in the ADR Procedures (paragraph C of section
  3), the claim shall proceed to binding arbitration if both parties have consented to it.


  Within ten days of the termination of the Evaluative Mediation, the Debtor shall serve upon the
  Claimant a notice describing the opportunity to participate in binding arbitration. If the Claimant
  and the Debtors have agreed to binding arbitration, as soon as reasonably practicable following
  the Evaluation Termination Date with respect to Claimant’s Claim, the Debtors shall file and serve
  on the applicable Claimant (or their counsel if known), a notice of arbitration (an “Arbitration
  Notice”).


  VI.      Procedural and Administrative Modifications for the Binding Arbitration Phase

  The following procedural and administrative modifications are based on the AAA-ICDR’s
  understanding of the ADR procedures as provided by Proskauer. If the AAA-ICDR is selected as
  the administrator, further discussions between the AAA-ICDR and Proskauer regarding any
  additional modifications will be scheduled prior to the implementation and start-up of this
  program and then again after the outcome of the initial test cases that may require the possible
  modifications to this section as drafted below.


  Arbitration Case Filing and Initiation. The Debtor shall send the Claimant the Notice of Arbitration
  and at the same time will provide a copy of the Notice of Arbitration to the AAA-ICDR by email to
  the AAA-ICDR’s case filing email box for this program. The AAA-ICDR shall create a designated
  case filing email address (“PuertoRicoADRprogram@adr.org”). We suggest that all these claims
  be filed through that email by sending the Notice of Arbitration Form with the other filing
  requirements (along with the documents that Proskauer will determine to provide the arbitrator
  from the previous ADR processes). Once AAA-ICDR initiates the case, the parties will access it
  through the AAA-ICDR WebFile platform. The Notice of Arbitration form will reflect that the
  Respondent is the Oversight Board/ Commonwealth, although they will be the filing party.


  The Debtor will pay the Administrative Fee when they file the Notice of Arbitration. The filing fee
  along with all costs shall be divided equally between the Debtor and the Claimant. The AAA-ICDR
  and Proskauer shall have further discussions regarding the use of a draw down account or other
  methods for the payment of the costs for the binding arbitration proceedings.




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  The AAA-ICDR shall prepare and send to the parties the initiation letter commencing the case
  when the administrative filing requirements have been met. The initiation letter shall be directed
  to the Claimant and the Oversight Board/Commonwealth-Debtor; it shall reference the applicable
  rules and schedule the administrative conference call with the parties (within 14-days from the
  date of the initiation letter) and the administrator. The AAA-ICDR shall have further discussion
  with Proskauer as to the exact contents of the initiation letter, for example, will there be any
  materials shared or made part of the case file from the Offer Exchange Procedures or the
  Evaluative Mediation? Will the application of the Expedited Procedures or the Procedures for
  Large Complex Commercial Disputes and their thresholds amounts apply? We suggest that the
  agenda for the administrative conference call include the place for the arbitration, whether in
  person in San Juan or another location, conducted by telephonic or video hearings, or based on
  documents only—which information will be needed for arbitrator selection. The agenda for the
  administrative conference call shall also include claim specifics, the expertise and qualifications
  the parties are seeking from a prospective arbitrator, language, time frames, scheduling for the
  hearings and any additional issues raised by the parties.


  The AAA-ICDR will assign the case to one of its dedicated administrative teams with Spanish
  language capabilities as referenced in the personnel section above.


  The AAA-ICDR will identify, establish and maintain a roster of arbitrators that shall be used and
  appointed for these Binding Arbitrations, see the Arbitrator section below (Modification to R-3).


  Answers, Counterclaims, and Changes of Claim. The AAA-ICDR shall discuss further with
  Proskauer whether it anticipates that Claimants will file an answer. Section 5(h) of the ADR
  Procedures provides that Pre-Arbitration Statements are to be exchanged 14 days prior to the
  arbitration hearing, but the Procedures do not specifically allow (or prohibit) an answer or
  counterclaims. We expect that the issue of counterclaims and changes of claim will be a focus of
  the first two phases of the ADR Procedures. Is it anticipated that Claimants will assert new or
  amended counterclaims in the Binding Arbitration phase? The parties should discuss whether to
  share the Mediator’s Evaluation with the arbitrator, and if so, when (Modification to R-5 and R-
  6).


  The parties shall opt out of the Commercial Rules’ mediation requirement. (Modification to R-9).




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  Fixing of Locale. The AAA-ICDR does not have hearing facilities in Puerto Rico, however we will
  work with our arbitrators and local counsel in Puerto Rico and other jurisdictions to explore using
  their offices, hotel facilities, or other options as part of the start-up for this program. For hearings
  that are not taking place in Puerto Rico, the AAA-ICDR has hearing facilities throughout the United
  States, many with video conferencing capabilities, including New York, Miami, Atlanta, Dallas, Los
  Angeles, San Francisco, Philadelphia, and several others. Moreover, the ICDR routinely conducts
  telephonic hearings and, as a consequence of the COVID-19 crisis, parties are opting for virtual
  hearings via video conferencing platforms. The AAA-ICDR has drafted several guides for the
  parties and the arbitrators including sample orders for conducting hearings via video
  conferencing (see https://go.adr.org/covid19.html). The AAA-ICDR shall have further discussions
  with Proskauer regarding these issues and the potential modification to R-11.


  Appointment of the Arbitrator. The AAA-ICDR suggests the use of the list method for the
  appointment of the arbitrators. As such, Rule R-12 shall apply except that the list will be
  comprised of five names chosen by the AAA-ICDR from the roster established for these binding
  arbitrations. In accordance with the ADR Procedures. The AAA-ICDR will appoint one arbitrator
  unless the parties agree to panel of three arbitrators. (Modification to R-12).


  The parties shall opt out of Rules R-13, R-14 and R-16. AAA-ICDR would like further discussion
  regarding the application of Rule R-15, Nationality of the Arbitrator.


  The AAA-ICDR suggests that the appointed arbitrators complete the standard AAA-ICDR Notice
  of Appointment to disclose any conflicts, interests, and relationships that may have; the AAA-
  ICDR case administrator would provide the completed Notice of Appointment to the parties.
  Section 5(c) of the ADR Procedures states that, if the arbitrator identifies a conflict in resolving a
  claim, that claim shall be reassigned. The AAA-ICDR suggests its robust policies and procedures
  for handling conflicts and disclosures be applied as set forth in by Rules R-17 and R-18 and the
  requirements of the AAA-ABA Code of Ethics. In accordance with its Rules, the AAA-ICDR
  determines whether an arbitrator should be disqualified if a party objects to their appointment,
  which determination is conclusive. The AAA-ICDR is open to further discussion on these points
  after Proskauer has reviewed the applicable rules and documents including the appointment
  package that would be completed by the prospective arbitrator. These documents have been
  provided to Proskauer and are being reviewed for further discussion.


  Preliminary Hearing. The Preliminary Hearing is the first hearing with the parties and the




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  arbitrator once the arbitrator has been appointed and confirmed. The ADR Procedures (section
  5(f)) contemplate that pre-hearing issues are presented to the arbitrator telephonically or in any
  other manner agreed to. In typical AAA-ICDR cases, we have a proposed preliminary hearing
  agenda that we send to the arbitrator for editing as needed for the issues in their particular case.
  Agenda items for these cases could cover the case and hearing schedule, exchange of documents,
  acknowledgment of the applicable rules, a discussion of the ADR Procedures, venue and all
  related logistics, specification of all claims and the framework for the arbitration. Additional
  points to discuss would be the Pre-Arbitration statements and the conduct of the hearings,
  section 5 (h) and (i) of the ADR Procedures. Proskauer has also requested that the issue of
  conflicts evaluation and pricing/arbitrator’s compensation be raised during this hearing as well.
  The arbitrator would also reaffirm that they will prepare a short written opinion and award
  limited to determining the amount of the claim and not determining any issues relating to the
  treatment or priority of the claim (Modification to R-47). The AAA-ICDR suggests further
  discussions regarding the proposed agenda for the Preliminary Hearing and the application of the
  Preliminary Hearing Procedures in section P-1 and P-2 of the Commercial Arbitration Rules.


  Limited Discovery, Section 5 (g). The AAA-ICDR suggests further discussions regarding this section.
  The time frames, logistics for depositions and the schedule for any objections and compliance
  may delay the arbitration hearing that must be held no later than 75 days following the
  arbitrator’s appointment (section 5 (i)). The Preliminary Hearing also should include a discussion
  of the limited discovery allowed, and discovery needs of the particular case, and whether the
  arbitrator (or the parties by agreement) can and will modify these provisions for good cause
  shown as provided in the ADR Procedures. This may also require modifications to R-22, R-21, R-
  34 and the Large Complex Case Procedures, if applicable.


  Arbitration Awards. ADR Procedures Section 5 (j) provides “Any Arbitration Award shall only
  determine the amount of Claim and shall not raise or determine any issues relating to the
  treatment or priority of the Designated Claim” (Modification to R-47).


  The AAA-ICDR suggests further discussions regarding several other possible modifications listed
  below in section XIII.


  VII.     Administrator’s Function


  The AAA-ICDR will serve as the administrator of any arbitrations filed under this Binding
  Arbitration phase of the ADR Procedures, providing administrative services to enable efficient,




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  well-organized arbitrations.

  Consistent with the final approved ADR Procedures and the Commercial Rules, the AAA-ICDR’s
  functions as the program’s administrator will include the following:

         Assist with the initiation and administration of the arbitration cases, including managing
          the documents submitted by the parties, sending documents to the arbitrator, facilitating
          communication among the parties and the arbitrator, and maintaining an electronic case
          file for each case, accessible to the parties, counsel, and the arbitrator through AAA-ICDR
          WebFile/Neutral’s e-Center. The AAA-ICDR will ensure that Binding Arbitration phase
          moves from initiation to award. AAA-ICDR encourages the parties’ use of electronic
          submissions and communication when appropriate.

         Facilitate the expeditious selection of the arbitrator from the developed panel, including
          disclosure of relevant circumstances that may impact impartiality. The AAA-ICDR will
          facilitate the briefing on any party’s objection to an arbitrator and will decide any such
          challenges. The AAA-ICDR will develop from its roster of thousands of experienced
          arbitrators a specialized Spanish-speaking panel that will have the necessary
          independence, integrity, expertise and will meet the requirements for this program. The
          AAA-ICDR will assist in monitoring and ensuring panel members meet the required
          qualifications.


  VIII.   Arbitrators


      The following section on the Arbitrators is based on the AAA-ICDR’s understanding of the
      types of claims as identified by Proskauer that shall be considered for selecting prospective
      arbitrators for this panel. If the AAA-ICDR is selected as the administrator further discussions
      between the AAA-ICDR and Proskauer regarding additional claims may require the possible
      modifications to this section as drafted below.
         The qualifications for the potential arbitrators need to be finalized and shall be case-
          dependent. Proskauer is reviewing the types of cases that may be submitted to
          arbitration and will provide AAA-ICDR with further information relevant to the panel’s
          make-up. Currently, Proskauer has identified claims involving alleged torts, personal
          injury, civil rights claims and breach of contract, Labor and employment and medical
          services cases.




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           The AAA-ICDR has over 195 arbitrators that are Spanish speaking and admitted to
            practice in various jurisdictions including Puerto Rico and the U.S. From these lists, once
            the types of claims have been identified with greater specificity as to the amounts in
            controversy and the subject matter of the disputes, AAA-ICDR will establish a dedicated
            panel of arbitrators, who will be trained for this specific caseload. The final number for
            this panel will be dependent on a number of factors, including the volume of cases, and
            may be changed or expanded as necessary.


           The AAA-ICDR will facilitate arbitrator fee arrangements, including the collection and
            timely payment of arbitrator fees and other expenses, through deposits or advances or
            otherwise, as appropriate.

           The AAA-ICDR will provide arbitrators guidance on the approved ADR Procedures,
            monitor the performance of the arbitrators, and enforce adherence to the procedures
            for this program.



  IX.       AAA-ICDR Program Development Fees, Administrative Fees, and Arbitrator
            Compensation


         An initial program development and set-up fee will be charged for the AAA-ICDR’s efforts
          to develop and implement the start-up for this program. This program fee will incorporate
          a number of the open items for discussion detailed above, specifically involving an
          interactive process with Proskauer/Commonwealth in the finalization of the
          administrative process, the rules, the development of the panel for this program and
          other “advance” work including translations and training that will require close,
          cooperative work between the AAA-ICDR and Proskauer/Commonwealth. The program
          development fee would be USD $15,000.
         The AAA-ICDR would administer the Binding Arbitration phase cases pursuant to the
          attached Commercial Rules administrative fee schedule, which provides for tiers of the
          two administrative fees (initial filing fee and final fee) based on the amount of the claim
          asserted.
         Arbitrator compensation
            o   The AAA-ICDR will use its best efforts to identify arbitrators who would agree to a
                capped compensation fee (of USD $5,000) for the case, assuming it takes no more




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               than 26 hours in total. The arbitrator compensation shall be divided and paid in three
               equal installments of $1667.00: (1. After first procedural order is transmitted, 2. after
               the hearing(s) are concluded, and 3. after the award is transmitted) after submitting
               their invoice for these amounts after each stage that shall also include the hours
               worked during the applicable stages. If the case exceeds 26 hours, then additional
               hours will be compensated at the arbitrator’s hourly rate provided that the arbitrator
               provides an estimate of how many hours are needed to complete the matter and the
               parties agree to the additional compensation.
           o   The AAA-ICDR also suggested as an additional option for the arbitrator’s
               compensation its traditional compensation model based completely on the
               appointed arbitrator’s hourly rate. The AAA-ICDR would review the arbitrator’s
               invoices and ensure they comply with the compensation agreement and AAA-ICDR’s
               Billing Guidelines. This is the AAA-ICDR’s standard compensation model and the
               parties can see the arbitrator’s hourly rates during the appointment strike and
               ranking phase thereby objecting to any arbitrators that may be deemed too
               expensive. Proskauer selected the aforementioned capped compensation fee model
               in lieu of the traditional compensation model. Please note the AAA-ICDR does not add
               any case management/administration fees to any arbitrator’s compensation model.
               No portion of the AAA-ICDR’s administrative fees are shared with arbitrators. AAA-
               ICDR arbitrators are not employees and have no ownership or financial interest in the
               AAA-ICDR.


        If the AAA-ICDR is selected as the administrator further discussions between the AAA-
         ICDR and Proskauer regarding the projected time from arbitrator appointment through
         Award will be needed and may necessitate an adjustment to the capped compensation
         rate. The AAA-ICDR as part of the development of this specialized Spanish-speaking panel
         will undertake a vetting of those arbitrators that would be willing to serve on these cases
         for the capped rate of compensation.


  X.       Financial Controls and Oversight

          The financial strength of the AAA-ICDR has been firmly established over its 90+ years of
           operation, and the AAA-ICDR has substantial resources that provide the necessary capital
           structure to continuously deliver its services.

          AAA-ICDR carefully manages its receivables and any resulting collections using modern
           accounting systems. In addition to the necessary accounting, reporting, and governance




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            functions, our corporate headquarters’ finance department includes an internal audit
            function to ensure compliance with all policies and procedures. A Chief Financial Officer
            and two Vice Presidents of Finance manage the Finance Department. In addition, the AAA
            undergoes a comprehensive annual external audit that is overseen by a fully independent
            audit committee of the AAA’s Board of Directors. Reporting and other communications
            from the AAA-ICDR will be determined based on continued discussions.


  XI.           Additional Discussion Points.

        1. Further discussion/training regarding AAA-ICDR WebFile electronic case platform
           including further demonstrations. The AAA-ICDR employs an advanced electronic case
           administration platform and is a leader in administrative technology as well as
           cybersecurity. These tools are essential for the administration of the large caseloads we
           handle      each      year.     For       additional       information,        please    see
           https://www.adr.org/TechnologyServices.
        2. Further discussion regarding the review of case documents and rules (they have all been
           provided) including the Notice of Arbitration, the initiation letter, arbitrator appointment
           package, and preliminary hearing agendas.
        3. Further discussion point: Reporting and communicating with the Oversight Board and
           Proskauer during the course of the program.



  Respectfully submitted on behalf of the

  AAA-ICDR,


  Luis M. Martinez, Esq.




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COMMERCIAL ARBITRATION RULES AND MEDIATION PROCEDURES
Administrative Fee Schedules
Amended and Effective May 1, 2018

For all cases determined to be international by the AAA–ICDR, the International Fee Schedule shall apply. An international case is generally defined as having either the place of
arbitration or performance of the agreement outside the United States, or having an arbitration agreement between parties from different countries. To view the International Fee
Schedule, visit info.adr.org/internationalfeeschedule.

The AAA offers parties two options for the payment of administrative fees.

For both schedules, administrative fees are based on the amount of the claim or counterclaim and are to be paid by the party bringing the claim or counterclaim at the time the
demand or claim is filed with the AAA. Arbitrator compensation is not included in either schedule. Unless the parties’ agreement provides otherwise, arbitrator compensation and
administrative fees are subject to allocation by an arbitrator in an award.

Standard Fee Schedule: A two-payment schedule that provides for somewhat higher initial filing fees but lower overall administrative fees for cases that proceed to a hearing.

Flexible Fee Schedule: A three-payment schedule that provides for lower initial filing fee and then spreads subsequent payments out over the course of the arbitration. Total
administrative fees will be somewhat higher for cases that proceed to a hearing.
                                   Standard Fee Schedule                                                                                   Flexible Fee Schedule
                                                                                                                                               Initial
       Amount of Claim                   Initial Filing Fee                    Final Fee                       Amount of Claim                                     Proceed Fee              Final Fee
                                                                                                                                             Filing Fee

Less than $75,000                              $925                              $800                   Less than $75,000
                                                                                                                                                   Only available for claims $150,000 and above
$75,000 to less than $150,000                 $1,925                             $1,375                 $75,000 to less than $150,000

$150,000 to less than $300,000                $2,900                            $2,200                  $150,000 to less than $300,000         $1,825                 $1,875                 $2,200

$300,000 to less than $500,000                $4,400                            $3,850                  $300,000 to less than $500,000         $2,200                 $3,300                 $3,850

$500,000 to less than $1,000,000              $5,500                            $6,825                  $500,000 to less than $1,000,000       $2,750                 $4,725                 $6,825

$1,000,000 to less than                                                                                 $1,000,000 to less than
                                              $7,700                            $8,475                                                        $3,850                  $6,275                 $8,475
$10,000,000                                                                                             $10,000,000
                                     $11,000 plus .01% of the                                                                                                 $10,000 plus .01% of the
$10,000,000 and above                  claim amount above                       $13,750                 $10,000,000 and above                 $5,500           claim amount above            $13,750
                                    $10,000,000 up to $65,000                                                                                                $10,000,000 up to $65,000

Undetermined Monetary Claims                  $7,700                            $8,475                  Undetermined Monetary Claims          $3,850                  $6,275                 $8,475

Nonmonetary Claims*                           $3,500                            $2,750                  Nonmonetary Claims*                    $2,200                 $2,475                  $2,750

Deficient Filing Fee                           $500                                                     Deficient Filing Fee                   $500

                                    If there are more than two separately represented parties in                                           If there are more than two separately represented parties
                                    the arbitration, an additional 10% of each fee contained in these                                      in the arbitration, an additional 10% of each fee contained
                                    fee schedules will be charged for each additional separately                                           in these fee schedules will be charged for each additional
Additional Party Fees               represented party. However, Additional Party Fees will not          Additional Party Fees              separately represented party. However, Additional Party
                                    exceed 50% of the base fees contained in these fee schedules                                           Fees will not exceed 50% of the base fees contained in these
                                    unless there are more than 10 separately represented                                                   fee schedules unless there are more than 10 separately
                                    parties. See below for additional details.                                                             represented parties. See below for additional details.
                                                                                                                                                                                          1 | adr.org
                             Case:17-03283-LTS Doc#:14121-2 Filed:08/27/20 Entered:08/27/20 21:15:16                                   Desc:
                                                       Exhibit B Page 28 of 29                                                          ADMINISTRATIVE FEE SCHEDULES (CONT.)

                       Standard Fee Schedule (Cont.)                                                            Flexible Fee Schedule (Cont.)

• The Initial Filing Fee is payable in full by a filing party when a claim,             • The Initial Filing Fee is payable in full by a filing party when a claim,
  counterclaim, or additional claim is filed.                                             counterclaim, or additional claim is filed.

• The Final Fee will be incurred for all cases that proceed to their first hearing      • The Proceed Fee must be paid within 90 days of the filing of the demand for
  and is payable in advance at the time the first hearing is scheduled.                   arbitration or a counterclaim before the AAA will proceed with the further
                                                                                          administration of the arbitration, including the arbitrator appointment process.
• Fee Modifications: Fees are subject to increase if the claim or counterclaim
  is increased after the initial filing date. Fees are subject to decrease if the          • If a Proceed Fee is not submitted within 90 days of the filing of the
  claim or counterclaim decreases prior to the first hearing.                                Claimant’s Demand for Arbitration, the AAA will administratively close the
                                                                                             file and notify all parties.
• Cases with Three or More Arbitrators are subject to a minimum Initial Filing
  Fee of $4,400 and a Final Fee of $3,850.                                                 • If the Flexible Fee Schedule is being used for the filing of a counterclaim,
                                                                                             the counterclaim will not be presented to the arbitrator until the Proceed
• Nonmonetary Claims: The non-monetary filing fee is the minimum filing fee                  Fee is paid.
  for any case requesting non-monetary relief. Where a party seeks both
  monetary damages and non-monetary relief, the higher of the two filing fees           • The Final Fee will be incurred for all cases that proceed to their first hearing
  will apply.                                                                             and is payable in advance at the time the first hearing is scheduled.

Refunds—Standard Fee Schedule:                                                          • Fee Modifications: Fees are subject to increase if the claim or counterclaim
                                                                                          is increased after the initial filing date. Fees are subject to decrease if the
Initial Filing Fees: Subject to a $500 minimum non-refundable Initial Filing Fee          claim or counterclaim decreases prior to the first hearing.
for all cases, refunds of Initial Filing Fees for settled or withdrawn cases will be    • Cases with Three or More Arbitrators are subject to a minimum Initial Filing
calculated from the date the AAA receives the demand for arbitration as follows:          Fee of $2,200, a $3,300 Proceed Fee and a Final Fee of $3,850.
• within 5 calendar days of filing—100%.                                                • Nonmonetary Claims: The non-monetary filing fee is the minimum filing fee
• between 6 and 30 calendar days of filing—50%                                            for any case requesting non-monetary relief. Where a party seeks both
• between 31 and 60 calendar days of filing—25%                                           monetary damages and non-monetary relief, the higher of the two filing fees
                                                                                          will apply.
However, no refunds will be made once:

• any arbitrator has been appointed (including one arbitrator on a                      Refunds—Flexible Fee Schedule:
  three-arbitrator panel).
                                                                                        Under the Flexible Fee Schedule, Filing Fees and Proceed Fees are
                                                                                        non-refundable once incurred.
Final Fees: If a case is settled or withdrawn prior to the first hearing taking
place, all Final Fees paid will be refunded. However, if the AAA is not notified of a   Final Fees: If a case is settled or withdrawn prior to the first hearing taking
cancellation at least 24 hours before a scheduled hearing date, the Final Fee will      place, all Final Fees paid will be refunded. However, if the AAA is not notified of a
remain due and will not be refunded.                                                    cancellation at least 24 hours before a scheduled hearing date, the Final Fee will
                                                                                        remain due and will not be refunded.




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                               Case:17-03283-LTS Doc#:14121-2 Filed:08/27/20 Entered:08/27/20 21:15:16                                             Desc:
                                                         Exhibit B Page 29 of 29                                                                    ADMINISTRATIVE FEE SCHEDULES (CONT.)

Additional Fees Applicable to the Standard Fee and Flexible Fee Schedules

Additional Party Fees: Additional Party Fees will be charged as described above, and in addition:

• Additional Party Fees are payable by the party, whether a claimant or respondent, that names the additional parties to the arbitration.

• Such fees shall not exceed 50% of the base fees in the fee schedule, except that the AAA reserves the right to assess additional fees where there are more than 10 separately
  represented parties.

• An example of the Additional Party Fee is as follows: A single claimant represented by one attorney brings an arbitration against two separate respondents, however, both
  respondents are represented by the same attorney. No Additional Party Fees are due. However, if the respondents are represented by different attorneys, or if one of the
  respondents is self-represented and the other is represented by an attorney, an additional 10% of the Initial Filing fee is charged to the claimant. If the case moves to the Proceed
  Fee stage or the Final Fee stage, an additional 10% of those fees will also be charged to the claimant.

Incomplete or Deficient Filings: Where the applicable arbitration agreement does not reference the AAA, the AAA will attempt to obtain the agreement of all parties to have the
arbitration administered by the AAA.

• Where the AAA is unable to obtain the parties’ agreement to have the AAA administer the arbitration, the AAA will not proceed further and will administratively close the case. The
  AAA will also return the filing fees to the filing party, less the amount specified in the fee schedule above for deficient filings.

• Parties that file Demands for Arbitration that are incomplete or otherwise do not meet the filing requirements contained in the rules shall also be charged the amount specified
  above for deficient filings if they fail or are unable to respond to the AAA’s request to correct the deficiency.

Arbitrations in Abeyance: Cases held in abeyance by mutual agreement for one year will be assessed an annual abeyance fee of $500, to be split equally among the parties. If a party
refuses to pay the assessed fee, the other party or parties may pay the entire fee on behalf of all parties, otherwise the arbitration will be administratively closed. All filing
requirements, including the payment of filing fees, must be met before a matter will be placed in abeyance.

Fees for Additional Services: The AAA reserves the right to assess additional administrative fees for services performed by the AAA that go beyond those provided for in the AAA’s
rules, but which are required as a result of the parties’ agreement or stipulation.

Hearing Room Rentals: The fees described above do not cover the cost of hearing rooms, which are available on a rental basis. Check with the AAA for availability and rates.


Mediation—Administrative Fee Schedules

A $250 non-refundable deposit, which will be applied toward the mediation fee, is required to initiate the AAA’s administration of the mediation and appointment of the mediator.

The mediator’s fee is stated on his or her resume. The AAA administrative fee, split by the parties, is $75 per hour billed by the mediator with a minimum four hour charge for any
mediation held. Expenses referenced in Section M-17 of the Mediation Procedures may also apply.

If a matter submitted for mediation is withdrawn or cancelled or results in a settlement after the request to initiate mediation is filed but prior to the mediation conference, the AAA
administrative fee is $250 (to which the deposit will be applied) plus any mediator time and expenses incurred. These costs shall be borne by the initiating party unless the parties
agree otherwise.

If you have questions about mediation costs or services, visit www.adr.org or contact your local AAA office.



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